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                         Exhibit B
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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
__________________________________________
AHMED ALI MUTHANA,                         )
                                          )
            Plaintiff,                    )
                                          )
      v.                                  ) Civil Action No. 1:19-cv-00445-RBW
                                           )
MICHAEL POMPEO, et al.,                    )
                                          )
            Defendants.                   )
__________________________________________)


                         DECLARATION OF JAMES B. DONOVAN

I, James B. Donovan, do hereby declare:

1.      I am a Minister-Counselor for Host Country Affairs at the United States Mission to the
United Nations (USUN Host Country Affairs). I make this declaration based on my personal
knowledge and my review of official documents and records maintained by USUN, Host Country
Affairs. If called to testify, I could and would do so competently.
2.      This declaration describes the process by which USUN Host Country Affairs registers and
keeps track of foreign government officials assigned to the Permanent Missions of foreign
governments to the United Nations (Permanent Mission). In addition, this declaration addresses
the specific records related to a former First Secretary to the Yemeni Mission to the United Nations
– Ahmed A. Muthana.

3.      Before a foreign government official can be afforded privileges and immunities, such as
those of a diplomatic agent, in the United State as a result of his or her assignment to a Permanent
Mission to the United Nations, the individual’s sending state must first notify the United Nations
(U.N.) Office of Protocol of the individual’s appointment, date of assumption of duties, as well as
the level of privileges and immunities the sending state requests for the individual to be afforded.
This is accomplished when the Permanent Mission sends the U.N. Office of Protocol notification
of the appointment of a Permanent Mission member and a request for privileges and immunities
for that mission member and the family members forming his or her household.

4.     Once the U.N. Office of Protocol accepts the accreditation of the Permanent Mission
member to the United Nations, the U.N. Office of Protocol notifies USUN Host Country Affairs
and requests that the United States afford that individual the appropriate privileges and immunities.

5.     If the proposed Permanent Mission member satisfies the criteria for extending privileges
and immunities as set forth by the United States, USUN Host Country Affairs sends back to the
Permanent Mission a Department of State Diplomatic Identification Card, bearing the permanent
mission member’s name. The back of the card indicates the immunities to which the foreign
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mission member is entitled. In the case of a diplomatic agent, it would state that the individual is
immune from criminal and civil jurisdiction.

6.      It is important for the Department of State Diplomatic Identification Card to state the level
of immunities accorded to the diplomat because different Permanent Mission members may have
different levels of immunities. For example, a member of the support staff of a Permanent Mission
to the United Nations would have only immunity from the jurisdiction of the United States for acts
performed within his/her official duties or functions. Such a person would be subject to the
criminal jurisdiction of the United States if he/she commits a crime unrelated to official duties as
a member of the permanent mission. Likewise, such an individual would be subject to the civil
jurisdiction of the United States and could be held liable for money damages if, for example, the
mission member hits a pedestrian while driving on personal time. By contrast, diplomatic agents
enjoy complete criminal and comprehensive civil and administrative immunity from the
jurisdiction of the United States and cannot be held liable for crimes or civil torts unless the sending
State waives immunity.

7.      In addition to sending the Department of State Diplomatic Identification Card to the
Permanent Mission, USUN Host Country Affairs creates its own internal records pertaining to the
accredited individual. Until around 2013, those records consisted of a physical paper card called
the KARDEX; additionally, starting in 1984, as an electronic record created in an electronic
database known internally as TOMIS. While USUN Host Country Affairs still uses the TOMIS
system, we ceased using the paper KARDEX records around 2013. We have, however, maintained
the vast majority of KARDEX records already in existence.

8.      The KARDEX was a card printed on paper stock, which contained the basic and important
information about the Permanent Mission member and his or her family members forming part of
his or her household. In addition to the name of the individual, his or her place of birth, the name
of the Permanent Mission to which he or she was accredited, and other important details about the
mission member, the KARDEX also contained information about any family members forming
part of his/her household.

9.      The KARDEX contained information about the beginning and end of the privileges and
immunities afforded to the diplomat and the family members forming part of his or her household.
Specifically, the KARDEX contained the date of the U.N. appointment, as well as the date of the
approval of attachment of privileges and immunities. Finally, the KARDEX contained a field for
the official U.N. Termination Date. This field was completed when the U.N. Office of Protocol
formally notified USUN Host Country Affairs of the Permanent Mission member’s termination.
Until we received that official notification from the U.N. Office of Protocol, we continued to
extend privileges and immunities to a diplomat and the family members forming part of his or her
household.

10.    In addition, the KARDEX was updated to reflect the addition of any new family members
joining the Permanent Mission member’s household each time the U.N. Office of Protocol
informed us of such an addition or we learned of the addition through some other channel. This
might occur, for example, when a diplomat was joined by a spouse who had previously been living
abroad, or when a diplomat had a new baby. It was important to update the KARDEX with these



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additional family members because, as members of the diplomat’s household, they too enjoyed
the same level of privileges and immunities as the diplomat.

11.     In addition to recording information on the KARDEX, which we ceased doing in 2013, we
also recorded pertinent facts about the foreign mission member in the TOMIS electronic system,
including the foreign mission member’s “Appointment Date,” “Termination Date,” and
“Termination Received Date.” We record the latter two dates because, as explained above, the
United States continues to extend the applicable privileges and immunities to the foreign mission
member and the family members forming his or her household until we are notified of the
individual’s termination from the U.N. Office of Protocol.

12.      Though permanent missions are advised, whenever possible, to notify the U.N. Office of
Protocol of the terminations of their Permanent Mission members in advance of the departure or
termination date, not infrequently, we receive the notification after the mission member had
already been terminated by the permanent mission. This is because, the U.N. Office Protocol
itself, relies on the Permanent Missions to self-report these terminations. Thus, if a Permanent
Mission is dilatory in timely reporting a termination to the U.N. Protocol Office, the U.N. Protocol
Office in turn, will be late in notifying us through no fault of its own.

13.     The notifications of the terminations of diplomats at the various permanent missions come
to USUN Host Country Affairs from the U.N. Office of Protocol on a weekly basis. The U.N.
Office of Protocol compiles this list based on information it receives from the Permanent Missions.
According to the policy of the U.N. Protocol Handbook in effect in 1994 and still applicable today,
Permanent Missions are required to submit a form called the “Notification of Final Departure”
(known as the SG.8) to the U.N. Office of Protocol each time a foreign mission member is
terminated from the mission for whatever reason. The SG.8 serves as official notification of
departure for the U.N. Office of Protocol.

14.     When the U.N. Office of Protocol sends us notification of termination in advance of the
actual termination date, under applicable international law, the foreign mission member enjoys
privileges and immunities for a reasonable period after the actual termination date. It has long
been our practice to interpret this reasonable period as consisting of 30 days (absent extenuating
circumstances). As mentioned above, not infrequently such notification comes after the
termination has already occurred. For that reason, it is important to note the actual termination
date as well as the “Termination Received Date.” The actual termination date shows when the
individual’s actual employment with the foreign mission ended. The “Termination Received
Date,” however, shows when USUN Host Country Affairs received notice of the mission
member’s termination. In the event the “Termination Received Date” postdated the actual
termination date, it is “Termination Received Date” that is used to determine the end of the
privileges and immunities afforded to that individual and his or her family members.

This is because when the official notification of termination is not timely sent, i.e., there is a gap
between the stated actual date of termination and the date the official notification is sent to USUN
Host Country Affairs, USUN Host Country Affairs generally (absent circumstances such as a death
of a mission member) does not know that the diplomat is no longer employed by the mission until
the official notification is received. Without this knowledge, USUN Host Country Affairs cannot



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end the diplomat’s and his/her family members’ privileges and immunities, and does not terminate
a diplomat’s privileges and immunities without official notice from the United Nations. We rely
on the official notification date because anything short of that, such as reliance on hearsay about
the status of a diplomat, could erroneously expose an accredited diplomat to the jurisdiction of the
United States, when in fact, under applicable international law, he or she would enjoy immunities.

15.     For example, if a March 1, 2019 notification from UN Protocol states that a Permanent
Mission member was terminated on February 15, 2019, we would extend that individual’s
privileges and immunities until March 17, 2019, to ensure that he or she receives the 30-day
reasonable period from the actual termination date. Likewise, if a March 1, 2019 notification
from UN Protocol states that a Permanent Mission member will be terminated on March 15, 2019,
we would extend that individual’s privileges and immunities until April 14, 2019, to ensure that
he or she receives the 30-day reasonable period from the actual termination date. If, however, the
March 1, 2019 notification states that the individual was terminated on January 1, 2019, the March
1, 2019 day would be the last day that he or she would enjoy privileges and immunities because in
essence he or she has already gotten more than the “30-day reasonable period” from the date of
the actual termination.

16.     Upon receipt of the weekly termination list form the U.N. Office of Protocol, before 2013,
USUN Host Country Affairs would update both the KARDEX and the TOMIS electronic records
to reflect both the termination date and the notification-of-termination date. After updating the
KARDEX and TOMIS, USUN Host Country Affairs would retire the paper KARDEX record for
that Permanent Mission member from our active files to our retired files. The KARDEX would
then only be accessed in the event questions come up about the foreign mission member’s service.

17.     I have reviewed our records pertaining to Mr. Ahmed A. Muthana and have separately
provided the Department of State’s Certification of his dates of service, as well as the period during
which he enjoyed diplomatic-agent-level privileges and immunities as a result of his status a First
Secretary with the Yemeni Mission to the United Nations to the U.S. Department of Justice. In
reaching the conclusion in the Certification, I reviewed the following records: (a) KARDEX, (b)
TOMIS, and (c) the Termination List sent to USUN Host Country Affairs by the U.N. Office of
Protocol informing us of Mr. Muthana’s termination. A copy of each is attached hereto as Exhibit
1, 2, and 3 respectively.

18.     Based on my review of these three records, I am confident that Mr. Muthana continued to
enjoy diplomatic-agent-level privileges and immunities until February 6, 1995, because that is the
date on which the U.N. Office of Protocol officially notified us that Mr. Muthana’s service at the
Yemeni Mission had terminated. In the termination notice from the U.N. Office of Protocol on
February 6, 1995, the United Nations informed us that Mr. Muthana had been terminated from the
Yemeni Mission in September of 1994. It was not until we received the official notice of
termination from the U.N. Office of Protocol on February 6, 1995, however, that we stopped
extending privileges and immunities to Mr. Muthana. All three records—KARDEX, TOMIS, and
the U.N. Termination List—are consistent on the fact that USUN Host Country Affairs received
official notification of Mr. Muthana’s termination on February 6, 1995.




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19.     The fact that Mr. Muthana enjoyed privileges and immunities in the period between
September 1994 (the date he was actually terminated from the Yemeni mission according to the
Notice provided to us by the United Nations Office of Protocol) and February 6, 1995 (the date
USUN Host Country Affairs received official notice of his termination from the UN Office of
Protocol), is evidenced by the fact that we added the birth of his daughter Hoda to the KARDEX
after her birth in October 1994. A U.S.-born child, born after the diplomat’s privileges and
immunities had ended, would not have been added to the diplomat’s KARDEX because any such
child would have simply been irrelevant to us. The only reason to add family members forming
part of a diplomat’s household to the KARDEX is to register the fact that these family members,
like the principal diplomat, enjoy certain privileges and immunities.




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